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                                                UNITED STATES DISTRICT COURT
                                                     MIDDLE DISTRICT OF ALABAMA
                                                           OFFICE OF THE CLERK
                                                       ONE CHURCH STREET, RM B-110
                                                      MONTGOMERY, ALABAMA 36104

DEBRA P. HACKETT, CLERK
                                                                                                 TELEPHONE (334) 954-3600

                                                        May 1, 2020



                                                NOTICE OF ERROR



            To:              All Counsel of Record

            Case Style: Moody v. SES of Montgomery, LLC

            Case Number:          2:19-cv-00730-SRW

            Referenced Pleading:          STIPULATION of Dismissal

            Docket Entry Number:           20

            The referenced document was entered on ***May 1, 2020*** in this case and is hereby
            STRICKEN as an erroneous duplicate docket entry. Counsel filed corrected entry as
            document 20 without contacting the Clerk’s Office for proper correction pursuant to the
            requirements of the ECF Civil Administrative Procedures.

            Parties are instructed to disregard docket entry 20, which has been stricken from the record,
            and refer to docket entry 19 for correct entry.
